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11    Attorneys for PLAINTIFF,
      MARCELLUS MCMILLIAN
12

13                         UNITED STATES DISTRICT COURT
14
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
15

16
      MARCELLUS MCMILLIAN,                     Case No.: 2:19-cv-02121-MWF-JCx
17
            Plaintiff,                         The Honorable Michael W. Fitzgerald
18
      vs.                                      PLAINTIFF MARCELLUS
19                                             MCMILLIAN’S REQUEST FOR
      GOLDEN STATE FC LLC,                     JUDICIAL NOTICE IN SUPPORT OF
20    AMAZON FULFILLMENT                       MOTION FOR RELIEF FROM THE
      SERVICES, INC., AMAZON.COM               COURT’S ORDER GRANTING
21    SERVICES, INC., AMAZON.COM,              PARTIAL SUMMARY JUDGMENT
      INC., DEVON FRANKLIN, and                FOR PUNITIVE DAMAGES PURSUANT
22    DOES 1 to 100, inclusive,                TO F.R.C.P. 60(b)
23          Defendants.                        [Filed Concurrently with Motion For Relief,
                                               Appendix of Exhibits, Declaration of Mahru
24                                             Madjidi, Declaration of Griselda Rodriguez,
                                               and [Proposed] Order Thereon]
25

26                                             Date:          November 30, 2020
                                               Time:          10:00 a.m.
27                                             Courtroom:     5A
28                                             Complaint Filed: January 11, 2019
                                               Trial Date: January 19, 2021

                              PLAINTIFF’S REQUEST FOR JUDICIAL NOTICE
     Case 2:19-cv-02121-MWF-JC Document 63 Filed 10/29/20 Page 2 of 4 Page ID #:4210



1          Plaintiff Marcellus McMillian (“Plaintiff” or “McMillian”) hereby requests this
2     Court to take judicial notice, pursuant to Federal Rule of Evidence 201, of the following:
3          1.      Exhibit 16 to Plaintiff’s Appendix of Evidence: Letter from the Congress of
4     the United States, issued to President, Chief Executive Officer, and Chairman of
5     Amazon, Jeffrey Bezos on October 14, 2020.              Accessed on following weblink:
6     https://www.warren.senate.gov/imo/media/doc/2020.10.14%20Letter%20to%20Mr.%20
7     Bezos%20from%20Senators%20Warren,%20Markey%20and%20Congressman%20Ken
8     nedy%20(1).pdf
9          2.      Exhibit 17 to Plaintiff’s Appendix of Evidence: Amazon’s Disposable
10    Workers: National Employment Law Project, “Amazon’s Disposable Workers: High
11    Injury and Turnover Rates at Fulfillment Centers in California”, date March 2020. The
12    weblink where this document can be accessed is as follows: https://s27147.pcdn.co/wp-
13    content/uploads/Data-Brief-Amazon-Disposable-Workers-Injury-Turnover-Rates-
14    California-Fulfillment-Centers3-20.pdf
15         The Court may take judicial notice of matters that are not subject to reasonable
16    dispute because it: (1) is generally known within the trial court’s territorial jurisdiction;
17    or (2) can be accurately and readily determined from sources whose accuracy cannot be
18    reasonably questioned. Fed. R. Evid. 201(b). Proper subjects of judicial notice include:
19    (a) documents filed with the SEC (see, e.g., In re Silicon Graphics Inc. Sec. Litig., 183
20    F.3d 970, 986 (9th Cir. 1999)); (b) press releases (see, e.g., In re Ditech Comms. Corp.,
21    2006 WL 2319784, at *5 (N.D. Cal. Aug. 10, 2006) (press releases are “the types of
22    documents of which this Court properly may take judicial notice”)); and, (c) publicly
23    accessible websites (see Caldwell v. Caldwell, 2006 WL 618511, at 4 (N.D. Cal. Mar.
24    13, 2006); Wible v. Aetna Life ins. Co. 375 F. Supp. 2d 956, 965-66 (C.D. Cal. 2005)).
25         Here, the source of authority is the Congress of the United States and cannot be
26    questioned. Furthermore, the documents referenced above are accessible through public
27    websites.
28         For the foregoing reasons, Plaintiff respectfully requests this Court grant Plaintiff’s

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                                PLAINTIFF’S REQUEST FOR JUDICIAL NOTICE
     Case 2:19-cv-02121-MWF-JC Document 63 Filed 10/29/20 Page 3 of 4 Page ID #:4211



1     Request for Judicial Notice.
2

3     Dated: October 29, 2020           SHEGERIAN & ASSOCIATES, INC.
4

5                                       By:
                                              Mahru Madjidi, Esq.
6
                                              Attorneys for Plaintiff,
7                                             MARCELLUS MCMILLIAN
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                                PLAINTIFF’S REQUEST FOR JUDICIAL NOTICE
     Case 2:19-cv-02121-MWF-JC Document 63 Filed 10/29/20 Page 4 of 4 Page ID #:4212



1     MCMILLIAN v. GOLDEN STATE FC LLC, et al.                 Case No.: 2:19-cv-02121-MWF-JCx
2                                     PROOF OF SERVICE
3                  STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
4          I am an employee in the County of Los Angeles, State of California. I am over the
      age of 18 and not a party to the within action; my business address is 145 S. Spring
5     Street, Suite 400, Los Angeles California 90012.
6                On October 29, 2020, I served the foregoing document, described as
      “PLAINTIFF MARCELLUS MCMILLIAN’S REQUEST FOR JUDICIAL
7     NOTICE IN SUPPORT OF MOTION FOR RELIEF FROM THE COURT’S
      ORDER GRANTING PARTIAL SUMMARY JUDGMENT FOR PUNITIVE
8     DAMAGES PURSUANT TO F.R.C.P. 60(b)” on all interested parties in this action
      by placing a true copy thereof in a sealed envelope, addressed as follows:
9
      Barbara A. Fitzgerald, Esq.
10    Barbara.Fitzgerald@morganlewis.com
      MORGAN, LEWIS & BOCKIUS         LLP
11    300 S. Grand Avenue, 22nd Floor
      Los Angeles, CA 90071
12
      Robert Jon Hendricks, Esq.
13    RJ.Hendricks@morganlewis.com
      MORGAN, LEWIS & BOCKIUS LLP
14    One Market, Spear Street Tower
      San Francisco, CA 94105
15
      Alexander L. Grodan, Esq.
16    Alexander.Grodan@morganlewis.com
      MORGAN, LEWIS & BOCKIUS LLP
17    600 Anton Boulevard, Suite 1800
      Costa Mesa, CA 92626
18
             BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
19
      document(s) with the Clerk of the Court by using the CM/ECF system. Participants in the
20    case who are registered CM/ECF users will be served by the CM/ECF system.
      Participants in the case who are not registered CM/ECF users will be served by mail or
21
      by other means permitted by the court rules.
22
             I declare under penalty of perjury under the laws of the United States of America
23
      that the foregoing is true and correct.
24
           Executed on October 29, 2020 at Los Angeles, California.
25

26
                                                 Jose Castro
27

28
